         Case 1:21-cr-00495-ABJ Document 52 Filed 10/21/22 Page 1 of 6




                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


   UNITED STATES OF AMERICA,                    Case No. 1:21-cr-00495-ABJ

          v.                                    DEFENDANT DANIEL GRAY’S
                                                MOTION TO DISMISS CERTAIN
   DANIEL GRAY,                                 COUNTS DUE TO MULTIPLICITY
  Defendant.



DEFENDANT DANIEL GRAY’S MOTION TO DISMISS CERTAIN COUNTS
                  DUE TO MULTIPLICITY



NOW COMES the Defendant Daniel Gray (“Gray”), by and through counsel, with

this Motion to Dismiss Certain Counts due to multiplicity. Several counts in the

indictment are simply rewordings and variations of other counts but which cite

different statutes.

THE NINE COUNT INDICTMENT IS REALLY THREE ALLEGATIONS:

ASSAULTING, OBSTRUCTING, AND TRESPASSING

       In all essence, the nine counts of the indictment (filing #25) are just three

allegations: (1) some variation of obstructing, opposing or resisting officials at the

Capitol; (2) claims that Gray trespassed or paraded in the Capitol, and (3) claims

that Gray was violent or assaultive at the Capitol.
         Case 1:21-cr-00495-ABJ Document 52 Filed 10/21/22 Page 2 of 6




      A). The “obstruction” type counts, 1, 2, 5, 7. First, in Count One, Gray is

accused of obstructing impeding or interfering with official duties of law

enforcement officers during a civil disorder at the Capitol on Jan. 6 in violation of

18 U.S.C. Sec. 231(a)(3). Next, in Count Two, Gray is accused of obstructing,

influencing, and impeding an official proceeding in violation of 3 U.S.C. Section

15-18.

      B). The “assault” and violence counts, 3, 6, 8 In Count Three, Gray

allegedly assaulted, impeded or interfered with an officer in violation of 18 U.S.C.

Sec. 111(a)(1). Count Five accuses Gray of impeding and disrupting the official

functions by disorderly and disruptive conduct within restricted grounds. Along

the same lines, Gray is accused in Count Six of engaging in physical violence in

the Capitol under a different statute, 18 U.S.C. Sec. 1752(a)(4). Then Count Eight

alleges Gray engaged in physical violence on Capitol grounds in violation of 40

U.S.C. Sec. 5104(e)(2)(F).

      C) The trespassing counts, 4, 9. Count Four alleges a violation of 18

U.S.C. Sec. 1752(a)(l)), trespassing in the Capitol without lawful authority to do

so.   Count Nine alleges Gray paraded, demonstrated, and picketed at the Capitol

in violation of 40 U.S.C. Sec. 5104(e)(2)(G).
        Case 1:21-cr-00495-ABJ Document 52 Filed 10/21/22 Page 3 of 6




      Convictions for all these counts would violate the Double Jeopardy Clause

of the U.S. Constitution. Moreover the unnecessary multiplication of counts will

prejudice a jury against Mr. Gray.

      Multiplicity arises when “an indictment charges the same offense in more

than one count.” United States v. Mahdi, 598 F.3d 883, 887 (D.C. Cir. 2010),

quoting United States v. Weathers, 186 F.3d 948, 951 (D.C. Cir. 1999). The

Double Jeopardy Clause of the Constitution protects against “multiple punishments

for the same offense.” Weathers, 186 F.3d at 951, cert. denied, 529 U.S. 1005

(2000); U.S. Const. amend. V, cl. 2.

      Also, courts have recognized that charging the same offense in multiple

counts can “unfairly increas[e] a defendant’s exposure to criminal sanctions”

because a jury may conclude that given the number of charges, the defendant must

be guilty of something. United States v. Clarke, 24 F.3d 257, 261 (D.C. Cir. 1994),

quoting United States v. Harris, 959 F.2d 246, 250 (D.C. Cir. 1992), abrogated on

other grounds, United States v. Stewart, 246 F.3d 728 (D.C. Cir. 2001); see also

United States v. Morrow, 102 F. Supp. 3d 232, 246 (D.D.C. 2015) (multiplicitous

charges may suggest to a jury “that a defendant has committed not one but several

crimes”), quoting United States v. Reed, 639 F.2d 896, 904 (2d Cir. 1981); United

States v. Phillips, 962 F. Supp. 200, 202 (D.D.C. 1997).

                        OVERLAP AMONG CHARGES
        Case 1:21-cr-00495-ABJ Document 52 Filed 10/21/22 Page 4 of 6




      If anything, engaging in physical violence in a restricted area is a lesser-

included-offense of engaging in physical violence at the Capitol and physically

assaulting an officer at the Capitol. If Gray is found guilty of Count 3 (assaulting

an officer performing duties at the Capitol), he is therefore also guilty of engaging

in violence at the Capitol and engaging in violence in a restricted area. Count 8 is

plainly a lesser-included-offense of Count 3 as well as Count 6.

      The same goes with “disorderly conduct” in a restricted area (Count 5). It is

a lesser-included offense of disorderly conduct in the Capitol (Count 7). These two

counts repeat the same general allegations as Count but in slightly different

language.

      The counts of Gray’s indictment expose him to double, and even triple

jeopardy for the same alleged acts. The Double Jeopardy Clause protects criminal

defendants against both successive punishments and prosecutions for the same

criminal offense. United States v. Dixon, 509 U.S. 688, 696 (1993) (citing North

Carolina v. Pearce, 395 U.S. 711 (1969)); see also United States v. Davenport, 519

F.3d 940, 943 (9th Cir. 2008); United States v Mancuso, 718 F.3d 780, 791 (9th

Cir. 2013). When two different criminal statutes are violated, “the double jeopardy

prohibition is implicated when both statutes prohibit the same offense or when one

offense is a lesser included offense of the other.” Rutledge v. United States, 517

U.S. 292, 297 (1996)).
         Case 1:21-cr-00495-ABJ Document 52 Filed 10/21/22 Page 5 of 6




CONCLUSION AND REMEDY


      For all of the above stated reasons, Defendant prays for an order either

dismissing repetitive Counts or recategorizing these counts as lesser-included

offenses (with the jury so instructed).



Dated: October 21, 2022                   Respectfully Submitted,

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          Case 1:21-cr-00495-ABJ Document 52 Filed 10/21/22 Page 6 of 6




                                CERTIFICATE OF SERVICE

        I hereby certify that on October 21, 2022, a true and accurate copy of the forgoing was
electronically filed and served through the ECF system of the U.S. District Court for the District
of Columbia.

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                                                             /s/ John M. Pierce
